            Case 1:23-mj-04293-DHH Document 18 Filed 04/24/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                            )
UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )
                                            )       Criminal No. 23-mj-4293-DHH
JACK DOUGLAS TEIXEIRA,                      )
                                            )
       Defendant.                           )
                                            )

                               APPEARANCE OF COUNSEL

       I, Jared C. Dolan, hereby enter my appearance in this matter as counsel for the United
States of America.

                                                    Respectfully submitted,

                                                    /s/ Jared C. Dolan
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                                     Certificate of Service

      I hereby certify that this document was filed on April 24, 2023, through the ECF system,
which will provide electronic notice to counsel as identified on the Notice of Electronic Filing.

                                                    /s/ Jared C. Dolan
                                                    Jared C. Dolan
